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TINITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                                      22-CV-3169

Melvin Virgil, Plaintiff,
                                                       STIPULATION OF
        -against-                                      CONFIDENTIALITY
                                                       AND
                                                       PROTECTrVE ORDER



Aaron Finn, et al., Defendants.



       WHEREAS on October 4,2022, Plaintiff Melvin Virgil served non+arty the Department

of Corrections and Community Supervision ("DOCCS") with a third-party subpoena in the above-

captioned action.

       WHEREAS DOCCS believes that materials it is required to produce in response to that

subpoena may include the production of information and/or documents that (a) contain highly

sensitive information, policies, procedures or other matters that, if disclosed, could jeopardize

correctional or institutional safety, security or good order, (b) contain information that is

confidential under state or federal law, or (c) contain personal or.confidential information.

       IT IS HEREBY STIP{.JLATED AND AGREED thAt:




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        l.     The term "document" as used herein is defined to be synonymous in meaning and

equal in scope to the usage of this term in Federal Rule of Civil Procedure 34(a) and Rule 26.3(cX2)

of the Local Civil Rules of this Court.

        2,     DOCCS may designate as "Confrdential" documents produced from the records of

DOCCS and the infonnation contained therein, the disclosure of which DOCCS reasonably believes

would jeopardize correctional or institutional safety, security or good ordeq or which contain

infonnation that is confidential under state or federal law ("Confidential Material").

        3.     DOCCS may fi.uther designate as "Attomey's Eyes Only" documents in the

following categories, but only to the extent that DOCCS has a good faith basis for believing that

the disclosure of such documents to Plaintiff would significantly and irreparably jeopardize

conectional or institutional safety or security or good order.


                       a.      All personnel, health care (including, but not limited to, drug or
               substance abuse records), rnental health caren and labor relations records that contain
               personally identifiable information conceming any employee of DOCCS, any
               incarcerated individual in the custody of DOCCS, or any person subject to
               community supervision by DOCCS, provided that, for mental health records, the
               review and determination required by New York Mental Health Law $ 33.16 has
               been completed before any records approved for release are produced;

                       b.     All directives or written policies issued by DOCCS or any
               correctional facility operated by DOCCS that are classified as "D" within the
               meaning of DOCCS Directive 0001, indicating that they contain information
               affecting the safety and security of corectional facilities and are handled as
               confidential material and restricted from unauthorized access;

                    c. All DOCCS training materials that refer to or concern correctional,
               community supervision or institutional safety, security, or good order;




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                       d.       Any other records, photographs, videos or materials that DOCCS
               reasonably believes would corupromise the safety or security of a DOCCS facility
               or office if disclosed to an incarcerated individual in the custody of DOCCS and/or
               the general public;



        4,     For any document that a party seeks to designate as Confidential or Attomey's Eyes

Only, the producing party should stamp the document with the appropriate designation in a

conspicuous location within the margins of the document A party will have no obligation to treat

documents as Confidential or Attorney's Eyes Only without that stamp, unless the document being

provided is incapable of being stamped (i.e., a video or audio file); for purposes of any such

document, the producing party should use best efforts to plainly identi$ in some fashion that the

document is either Confidential or Attorney's Eyes Only'

       5.      In the event that depositions are taken in this matter, the transcripts of those
depositions will be treated as Confidential Material in their entirety for thirty (30) days after being

notified that a futl and final copy of the deposition transcript is available. During that thirty (30)

day period, either party may designate as Confidential Material any portion of the transcript, by

page and line, and any deposition exhibits related to the subject areas described in paragraph 2

herein, and such designation must he provided to Plaintiffs counsel and Defendants' counsel in

witing to be deemed effective.

       6.      An inadvertent failure to designate Confidential or Attomey's Eyes Only material

may be corrected by supplemental written notice given as soon as practicable. That written notice

shouldprovide the other party with an identification of the production numbers of the inadvertently

produced material, and the producing party should then re-produce the material with a proper




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designation. Nevertheless, the receiving party should treat the document as so designated in the

interim.

       7.        For the avoidance of doubt, nothing in this Stipulation and Protective Order shall in

any way be construed to apply retroactively or to any documents Plaintiff or Plaintiffls counsel has

obtained by some other means, either prior to or during this action. Should subsequent copies of

these records be exchanged with designations of Confidentiality or Attorney's Eyes Only, those

subsequent copies (and only those subsequent copies) shall be treated as such.

           8.    Notwithstanding the treatment as Confidential or Attorney's Eyes Only ofpersonnel,

health care or rnental health care records that contain personally identifiable information couceming

any employee of DOCCS or any incarcErated individual in the custody of DOCCS, it is understood

that the residence addresses, employee insurance information, Social Security numbers, hrySID

and FBI numbers and/or Department Identification Numbers ('oDfN") of any employee,

incarcerated individual, or other person who has not provided DOCCS with a duly executed

authorization permitting disclosure of such information shall be redacted from the documents

produced by DOCCS.

       g.        Confidential and Attorney's Eyes Only materiat shall be treated as confidential and

not disclosed, except to the extent provided in this Stipulation and Protective Order or as otherwise

ordered by the Court.

           10. A parry receiving documents or information designated by DOCCS as Confidential
and/or Attorney's Eyes Only reserves the right to make an application to the Court on notice

challenging the designation in whole or part of any document or information. Prior to making such




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application, counsel shall in good faith attempt to resolve arry dispute. If an application to the Court

is made, the Court's procedures for resolving discovery disputes shall be followed. Material

designated as Confidential and/or Attorney's Eyes Only shall be treated as such until either the

parties agree or the Court rules otherwise,

        I   l.   Except as otherwise provided in this Stipulation and Protective Order, access to

Confidential Material and Attomey's Eyes Only Material shall be limited to:

                           &.   Afforneys for Plaintiff;

                           b.    DOCCS and attorneys for DOCCS:

                           c.   Attorneys for the Defendans in this litigation, except that, prior to
                 any such person being given access to the Confidential Material and/or Attorney's
                 Eyes Only Material, that person shall be given a copy of this Stipulation and
                 Protective Order and shall execute the Certification arurexed hereto;

                           d.      Employees and independent contractors of the respective attorneys
                 for Plaintiff or DOCCS who have direct functional responsibility for the preparation
                 or ffial of this action, or any appeal thereof;

                           e.   The parties' respective experts and consultantsn to the extent deemed
                 necessary to the conduct of this litigation by the respective attorneys for Plaintiff or
                 DOCCS, except that, prior to any such person being given access to the Confidential
                 Material andlu Attomey's Eyes Only Material, that person shall be given a copy of
                 this Stipulation and Protective Order and shall execute the Certification annexed
                 hereto;

                           f,Individual employees of DOCCS, to the extent that such individual
                 employees would have access to the Confidential Material as part of their
                 employment with DOCCS;

                           g.     Court reporters, to the extent deemed necessary for the conduct of
                 this litigation by the respective attomeys for Plaintiffor DOCCS; and

                           h.   The Court, including court personnel.




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                       i.      As for Confidential Material onlv, counsel for Plaintiff may allow
               Plaintiff to view and inspect Confidential Material as necessary to prosecute this
               action. However, Plaintiff shall not retain copies of Confidential Material. As for
               Attorney's Eyes Only material identified in paragraph 3(b), PlaintifPs counsel
               may gg! show or provide copies of Attorney's Eyes Only material to Plaintiff
               or any current or former incarcerated individual, nor may they otherwise
               disclose the contents of Attorney's Eyes Only materirl with Plaintiff or sny
               current or former incarcerated individual.

        12. Confidential or Attorney's Eyes Only material may be disclosed pursuant to order
of a court, administrative agency or tribunal with actual or apparent authority over Plaintiffs

counsel, provided, howevef, that in the event that Plaintiffs counsel intends to produce documents

containing Confidential or Attomey's Eyes Only material orthat contain Confidential orAttomey's

Eyes Only material obtained from such documents in response to such order, Plaintiffs counsel

shall serve notice of such order upon DOCCS' counsel, identifoing by Bates numbers the

documents it intends to produceo not less than ten (10) business days prior to the production thereof,

to give DOCCS the opportunity to seek a protective order against such production.

       13. Except as consented to in writing by DOCCS' counsel, or ordered by the Court, and
notwithstandrng any other term or provision contained in this Stipulation and Protective Order,

Attorney's Eyes Only material shall not be released or disclosed in any manner to any person who

is or was an incarcerated individual in the custody of DOCCS, includine the Plaintiff. Disclosure

of Attomey's Eyes Only material to the Plaintiff shall be subject to paragraph 9(i) above.

        14. Except as consented to in writing by DOCCS' counsel, or ordered by the Court, and
notwithstanding any other term or provision contained in this Stipulation and Protective Order,

Confidential material shall not be released or disclosed in any manner to any person who is or was




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an incarcerated individual in the custody of DOCCS, qxceDt the Plaintiff Disclosure of

Confidential material to the Plaintiff shall be subject to paragraph 9(i) above.

        15. No person receiving Confidential or Attorney's Eyes Only material pwsuant to this
Stipulation and Protective Order shall disclose or discuss such material in any manner, written or

oral, to or with any person who is not entitled to receive such information pursuant to this

Stipulation and Protective Order.

        16. The Confidential or Attorney's Eyes Only material shall not be disclosed in open
court without first affording DOCCS' counsel an opportumty to contest disclosure of such

Confidential or Attorney's Eyes Only material. For the avoidance of doubt, this paragraph does not

apply to materials being filed in on the Court docket, which is governed by Paragraph 17.

        17. If Plaintiffls attomeys intend to file with the Court any papen that attach, enclose,
or contain Confidential or Attomey's Eyes Only material (as defined in this Stipulation and

Protective Order), and DOCCS' attomeys do not provide consent in writing, Plaintiffs attorneys

shall request or move the Court to direct that such documents be filed under seal, following the

Court's rules, procedures, and practices for making such a request or motion. For the avoidance of

doubt, nothing in this paragraph requires Plaintiffs attomeys to seek consent from DOCCS'

attomeys before filing a request for documents to be filed under seal.

       18. All papers directed by the Court to be filed under seal in accordance with paragraph
15 above, shall be filed in accordance with the SealedRecords Filing instructions of the United

States District Court and the Court's individual rules and practices, if any.




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           19. Nothing herein shall be deemed to waive any applicable privilege. Pursuant to Fed,
R. Evid. 502(d) and Fed..R. Civ. P. 26(bX5XB), no privilege or protection is waived by disclosure

connected with this lawsuit, nor is any such disclosure a waiver in any other federal or state

proceeding, and any disclosed material is subject to refum to the producing party ("clawback") on

dernand without any obligation on the part of the producing party to demonsffate compliance with

Fed, R. Evid. 502(bxl)-(3) and Fed. R. Civ. P. 26(bX5XB) relating to inadvertent disclosure.

However, nothing herein shall be deemed to waive the right of the receiving party to dispute the

producing party's claim of privilege.

           20. Confidential or Attorney's Eyes Only material produced pursuant to the terms of this
Stiputation and Protective Order shall be used by the receiving parry solely for the purposes of this

action and solely to the extent necessary for the litigation of this action, including any appeals

thereof.

           21. Within sixty (60) days ofthe conclusion of this Action, including appeals, Plaintiff s
counsel shall either return to DOCCS' counsel all Confidential and/or Attomey's Eyes Only

material, and any copies thereof, in their custody, possession or control and any documents

containing Confidential and/or Attomey's Eyes Only material, in whole or in part, and any copies

made therefrorn or shall notifu DOCCS' counsel in writing that all such material has been destroyed.

Notwithstanding the foregoing, Plaintiff s counsel may retain attorney work product that refers to

or relates to Confidential and/or Attorney's Eyes Only material.




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       22. Nothing in this Order shall foreclose the parties from separately negotiating and
agreeing in writing to the confidential treatment of documents not contemplated by this Stipulation

and Protective Order and identified in paragraphs 2 and 3 herein.




Dated: New Yorlc, New York
       April24,2023


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ofNew York



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SO ORDERED:




HON. CATHY SEIBEL
United States District Judge     5/1/23
New York, New York




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                                       CERTIFICATION

         I certiff my understanding that Confidential andlor Attomey's Eyes Only material is being

provided to me pursuant to the terms and restrictions of the Stipulation and Protective Order in

Melvin Vireil v. Finp et. al. 22-CV-3169. currently pending in the United States District Court for

the Southern District of New York. I further certiSr that I have read the Stipulation and Protective

Order and agree to be bound by it.

         I understand that all provisions of the Stipulation and Protective Order restricting the
communication or use of Confidential and/or Attorney's Eyes Only material, including but not

limited to any notes or other transcriptions made of Confidential and/or Attomey's Eyes Only

material therefrom, shall continue to be binding during the pendency of and after the conclusion

of this action.


Dated:



                                             SIGNATURE



                                             PRINT NAME




                                             ADDRESS



                                             TELEPHONE NUMBER




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